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                        IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF PUERTO RICO

 In re:

 EDGARDO NICOLAS MARTINEZ PEREZ                               Case No. 16-05934
                                                              Chapter 13

 Debtors


               REQUEST FOR AUTHORIZATION FOR SALE OF REAL PROPERTY
                          WITH SHORTER TIME TO OBJECT

 TO THE HONORABLE COURT:

          COMES NOW Debtor, represented by undersigned counsel, and hereby submit this Motion

 requesting authorization to sale real property and as grounds for its motion states as follows:

          1.     On July 27, 2016, Debtor filed a petition for relief under Chapter 13 case of the

 Bankruptcy Code.

          2.     Debtor is in the process of selling a real property located at Calle Santa Isabel #1812,

 Urb. El Pilar, San Juan, PR 00926 (the “Property”).

          3.     Debtor represents that he has executed a contract for the sale of the Property, for the

 amount of $325,000.00 with José Miguel Silverman.

          4.     If this Motion is approved, out of the proceeds of this sale the Debtor will pay:

                 a. the real estate agent commission fee;

                 b. the notary fees for the execution of the deed;

                 c. Satisfy the secured claims; and

                 d. Satisfy and payoff Debtor’s Chapter 13 Plan.

          5.     Upon information and believe, the buyer is a non-interested party in Debtor’s chapter

 13 case and does not have an interest materially adverse to the interest of the estate or of any class of

 creditors or equity security holders, by reason of any direct or indirect relationship to, connection

 with, or interest in, the Debtor.
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           6.     Debtor believes that the sale of this property is in the best interest of Creditors and the

 Estate.

           WHEREFORE, Debtor respectfully requests from this Honorable Court to take notice of the

 above stated.

         NOTICE: Within SEVEN (7) days after service as evidenced by the certification, and an
 additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party
 against whom this paper has been served, or any other party to the action who objects to the relief
 sought herein, shall serve and file an objection or other appropriate response to this paper with the
 Clerk’s office of the U.S. Bankruptcy Court for the District of Puerto Rico. If no objection or
 other response is filed within the time allowed herein, the paper will be deemed unopposed and may
 be granted unless: (i) the requested relief is forbidden by law; (ii) the requested relief is against public
 policy; or (iii) in the opinion of the Court, the interest of justice requires otherwise.

         CERTIFICATE OF SERVICE: I hereby certify that on this same date, I electronically filed
 the above document with the Clerk of the Court using the CM/ECF system, which will send
 notification, upon information and belief, of such filing to the following: CHAPTER 13 TRUSTEE
 AND THE UNITED STATES TRUSTEE and to all CM/ECF participants. We also certify that this
 same date we have mailed by United States Postal Service the document to all creditors and parties
 in interest as per the attached master address list.

           RESPECTFULLY SUBMITTED
           In San Juan, Puerto Rico this 6th day of August, 2018.

                                                 /s/ William Rivera Vélez
                                                 William Rivera Vélez
                                                 USDC No. 229408
                                                 COSVI Office Complex
                                                 Esq. Ave. Américo Miranda 400
                                                 Edif. Original, Local B
                                                 San Juan, PR 00927
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                                                 E-mail: wrvlaw@gmail.com
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                                           Calle Fernando Calder #454 Urb. Roosevelt S.J. Puerto Rico 00918-2730
                                                                             T: (787) 753-0555 F: (787) 250-1853
                                                                                               E: jgititle@prtc.net


                                            ESTUDIO DE TITULO

        CASO: EDGARDO NICOLAS MARTINEZ PEREZ
        RE: Sr. Edgardo Martínez

        FINCA #2975, inscrita al folio 82 del tomo 91 de Monacillos Este y El Cinco, (Sección V de San
        Juan).

        DESCRIPCION:

        URBANA: Solar identificado con el #2 de la manzana C en el plano de inscripción de la
        Urbanización Reparto Del Pilar, en el barrio Monacillos de Río Piedras, con una cabida
        superficial de 1,222.13 metros cuadrados con las siguientes colindancias y medidas lineales, por
        su frente, que es el NORTE, colinda en cincuenta y dos metros y noventa y nueve centésimas de
        metros con la calle #4 del citado Reparto Del Pilar; por el SUR, que es su fondo, colinda en
        veintitrés metros con cincuenta y tres centésimas de metros, con el solar #8 de la citada manzana
        o bloque; por su lado ESTE, colinda en veintisiete metros con dieciocho centésimas de metro,
        con el solar #1 de la citada manzana; OESTE, por su lado Este, colinda en veinticinco metros,
        con el solar #4 y en veinte metros con ochenta y cinco centésimas de metros, con el solar #3,
        ambos de la misma citada manzana.

        ENCLAVA: Una casa de una sola planta todo de concreto dedicada a vivienda.

        ORIGEN: Se segrega de la finca #859 (antes #14805), inscrita al folio 186 del tomo 21 de
        Sabana Llana.

        PROPIETARIO REGISTRAL: Los esposos EDGARDO NICOLAS MARTINEZ PEREZ y
        CAMEN SEIJO CRUZ, quien (es) adquiere(n) por compra a los esposos Arthur Neil Montilla
        Brogan y Bobetta Jean Mccune, t/c/c Bobeta Montilla, por el precio de $230,000.00. Según
        escritura #51, otorgada en San Juan, el 29 de enero del 1988, ante Carlos M. Franco, inscrita al
        folio 89 del tomo 91 de Monacillos Este y El Cinco, inscripción 14ª.

        CARGAS Y GRAVAMENES:

        Por su Procedencia: Servidumbre(s) a favor de la Autoridad de Fuentes Fluviales y Condiciones
        Restrictivas.

        Por sí:

        1-HIPOTECA: Por $150,000.00, con intereses al 11.99% anual, desde la fecha de este pagaré
        hasta su total y completo pago, disponiendo que en caso de mora devengara interés a razón del
        tipo resultante al añadir 2 puntos porcentual adicionales, en garantía de un pagaré a favor de
        Westernbank Puerto Rico, o a su orden, que vence a la presentación. Según escritura #312,
        otorgada en San Juan, el 23 de mayo de 2007, ante Juan Manuel Casanova Rivera, inscrita al
        folio 104 del tomo 289 de Monacillos Este y El Cinco, (ágora), inscripción 18ª.

        2-HIPOTECA: Por $417,000.00, con intereses al 6.50% anual, en garantía de un pagaré a favor
        de Westernbank Puerto Rico, o a su orden, que vence el 1ro de junio de 2022. Según escritura
        #313, otorgada en San Juan, el 23 de mayo de 2007, ante Juan Manuel Casanova Rivera, inscrita
        al folio 104 del tomo 289 de Monacillos Este y El Cinco, (ágora), inscripción 19ª y última.

        BITÁCORA:

        ASIENTO 555 DIARIO 916, de fecha 27 de enero de 2016: Presentada y Pendiente de
        Despacho: Aviso de Demanda de fecha 11 de enero de 2016, dada en el Caso Civil #KCD2016-
        0063(903), en el Tribunal de Primera Instancia, Sala de San Juan; seguido por Banco Popular de
        Puerto Rico, (demandante), versus Edgardo Nicolas Martínez Pérez, t/c/c Edgardo Martínez
        Pérez, Carmen Luisa Seijo Cruz, t/c/c, Carmen Seijo Cruz y la sociedad legal de gananciales,
        compuesta por ambos, (demandados), donde se solicita el pago de la deuda por $89,588.43, más
        intereses sobre dicha suma al tipo conveniente del 6.99% anual desde el 29 de junio de 2015
        hasta su total y completo pago, más $15,000.00 para costas, gastos y honorarios de abogado, o la
        venta en Pública Subasta.
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        Finca #2975 de Monacillos Este y El Cinco.

        OBSERVACION: Lo anterior no comprende una calificación de este(os) documento(s) ni
        presupone que el mismo (los mismos) será(n) inscrito(s).

        REVISADOS: Embargos por Contribuciones, Embargos Federales, Sentencias y Bitácora
        Electrónica.

        En esta Sección se ha establecido un sistema computadorizado de operaciones. Esta Corporación
        no se hace responsable por errores u omisiones en la entrada de datos en el sistema de
        computadora.

        Este estudio ha sido realizado el 19 de abril de 2016, a las 1:12 a.m., en la Sección V de San
        Juan, del Registro de la Propiedad de Puerto Rico.


        J G I TITLE SERVICE, INC.
        JGITS/jcg
        #82220
        Cotejado por: C
        2975_ME5_E16
        F-anm
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